Case 2:02-cr-20428-.]DB Document 238 Filed 06/30/05 Page 1 of 2 Page|D 264

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IN THE UNITED STATES DISTRICT COURT '
FOR THE WESTERN DISTRICT OF TENNESSEE
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UNITED sTATEs 0F AMERICA, w %§ TQ§TICT OOU=IT
Plaintiff,

vs. Case No. 2:02-cr20428-B
Debra Settles

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied With the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $1,000.00,
payable to Yolando Dabney at 3079 Ford Road, Mernphis, TN 38109 in full refund of the cash

appearance bond posted herein.

   

tes District Judge
- iel Breen

 
 

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Approved.
Robert R. Di Trolio, Cl

  
 

BY:
Deputy Clerk /

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 238 in
case 2:02-CR-20428 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

